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     FRANK ALIOTO
 6
                              IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
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 8

     UNITED STATES OF AMERICA,                        ) No. 2:11 CR 190 MCE
 9
                                                      )
                                                      )
10          Plaintiff,                                )
                                                      ) APPLICATION AND ORDER
11
     v.                                               ) EXONERATING BOND
                                                      )
12
     FRANK ALIOTO,                                    )
                                                      )
13
                                                      )
            Defendant.                                )
14
                                                      )
                                                      )
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                                                      )
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17          On September 13, 2013, a motion to dismiss against the defendant in the above captioned

18   matter was granted. Defendant previously posted a $250,000.00 appearance bond secured by a

19   deed of trust. Accordingly, the surety for the defendant’s bail bond is entitled to the release of

20   the home title, and it is respectfully requested that this Court direct the Clerk of the Court to

21   reconvey title forthwith, and that the bond be exonerated.

22   DATED: September 17, 2013                      /s/ John R. Manning
                                                    Attorney for Defendant
23
                                                    Frank Alioto
24
     IT IS SO ORDERED.
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     Dated: September 17, 2013

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